          MEMO
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                                                                          October 16, 2020

BY ECF

Honorable Andrew L. Carter
United States District Court
Southern District of New York
40 Foley Square, Room 435                                                                  10/21/20
New York, New York 10007

                       Re:     United States v. Joseph Perlman, 19-cr-531 (ALC)

Dear Judge Carter:

       I represent Joseph Perlman in the above-captioned case and write with the consent of the
Government and while we are awaiting similar consent from Mr. Perlman’s Pretrial Services
Officer in the Northern District of Georgia, to request an extension of Mr. Perlman’s date of
surrender, currently set for Thursday, October 22, 2020.

       We appeared before Your Honor for sentencing on Friday, December 6, 2019.
Subsequently Mr. Perlman was designated to serve his sentence at FPC-Montgomery. At the June
23, 2020 conference, Your Honor extended his time to surrender pending the submission of
additional information regarding his health condition.

       In light of the Covid-19 pandemic, which is particularly dangerous to Mr. Perlman given
his medical condition, we ask your Honor to grant Mr. Perlman an extension of time for his
surrender.

                                                                          Respectfully submitted,



                                                                          Sean Hecker
                                                                        The application is granted.
cc: (by email)
David Abramowicz and Michael McGinnis                                   Surrender date extended
Assistant United States Attorneys, Southern District of New York        to 1/29/21.
Jamila Crawford                                                         So Ordered.
United States Pretrial Services Officer, Northern District of Georgia
                                                                                                      10/21/20
